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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

xX
Inre Chapter 11
Nortel Networks Inc., et al.,’ Case No. 09-10138 (KG)
Debtors. Jointly Administered
x

DEBTORS’ MOTION FOR AN ORDER UNDER 11 U.S.C. § 102(1)
SHORTENING NOTICE RELATING TO DEBTORS’ MOTION FOR AN
ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF
CERTAIN ADDITIONAL EXECUTORY CONTRACTS PURSUANT
TO THE SALE OF THE DEBTORS’ ENTERPRISE SOLUTIONS BUSINESS

Nortel Networks Inc. (“NNI’”) and certain of its affiliates, as debtors and debtors in

possession (collectively, the “Debtors’’), hereby move this court (the “Motion to Shorten’) for

entry of an order, substantially in the form attached hereto as Exhibit A, pursuant to section

102(1) of title 11 of the United States Code (the “Bankruptcy Code’), Rule 9006 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 9006-1(e) of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”) to permit consideration on shortened notice of Debtors’ Motion

(the “Motion’’) for an Order (a) approving the assumption and assignment of the Verizon

! _ -The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification

number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.} Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://chapter11.epiqsystems.com/nortel. | :
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Contracts (as defined in the Motion)’ in connection with the sale of the Debtors’ Enterprise
Solutions business to Avaya Inc. (“Avaya’’) as purchaser (together with its designees, the
“Purchaser’’) in accordance with the terms and conditions of the Amended and Restated Asset
and Share Sale Agreement entered into by the Debtors, certain of their affiliates and the
Purchaser dated September 14, 2009, as may be subsequently amended, and (b) granting them
such other and further relief as the Court deems just and proper. In support of this Motion to
Shorten, the Debtors respectfully represent as follows:
Jurisdiction

1. . The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is
proper pursuant to 28 U.S.C. §§ 1408 and 1409.

2. The statutory bases for the relief requested herein are sections 102(1) of the

Bankruptcy Code, as supplemented by Bankruptcy Rule 9006 and Local Rule 9006-1(e).

Background

A, Introduction

3. On January 14, 2009 (the “Petition Date’), the Debtors, other than Nortel
Networks (CALA) Inc. (“NN CALA”), filed voluntary petitions for relief under chapter 11 of the
Bankruptcy Code. NN CALA filed its voluntary petition for relief under chapter 11 of the
Bankruptcy Code on July 14, 2009.

4, The Debtors continue to operate their businesses and manage their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.

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5. On January 15, 2009, this Court entered an order of joint administration pursuant
to Bankruptcy Rule 1015(b) that provided for the joint administration of these cases and for
consolidation for procedural purposes only [D.I. 36].

6. Also on the Petition Date, the Debtors’ ultimate corporate parent NNC, NNI’s

direct corporate parent NNL, and together with NNC and their affiliates, including the Debtors,

“Nortel”), and certain of their Canadian affiliates (collectively, the “Canadian Debtors”) filed an

application with the Ontario Superior Court of Justice (the “Canadian Court”) under the

Companies’ Creditors Arrangement Act (Canada) (the “CCAA”), seeking relief from their

creditors (collectively, the “Canadian Proceedings”). The Canadian Debtors continue to manage

their properties and operate their businesses under the supervision of the Canadian Court.

7. Ernst & Young Inc., as court-appointed Monitor in the Canadian Proceedings and
as foreign representative for the Canadian Debtors (the “Monitor”), has filed petitions in this
Court for recognition of the Canadian Proceedings as foreign main proceedings under chapter 15
of the Bankruptcy Code. On January 14, 2009, the Canadian Court entered an order recognizing
these chapter 11 proceedings as a foreign proceeding under section 18.6 of the CCAA. On
February 27, 2009, this Court entered an order recognizing the Canadian Proceedings as foreign
main proceedings under chapter 15 of the Bankruptcy Code.

8. On January 14, 2009, the High Court of Justice in England placed nineteen of

Nortel’s European affiliates (collectively, the “EMEA Debtors”)* into administration under the

3 The Canadian Debtors include the following entities: NNC, NNL, Nortel Networks Technology

Corporation, Nortel Networks Global Corporation and Nortel Networks International Corporation.

4 The EMEA Debtors include the following entities: Nortel Networks UK Limited, Nortel Networks S.A.,

Nortel Networks (Ireland) Limited, Nortel GmbH, Nortel Networks France S.A.S., Nortel Networks Oy, Nortel
Networks Romania SRL, Nortel Networks AB, Nortel Networks N.V., Nortel Networks S.p.A., Nortel Networks
B.V., Nortel Networks Polska Sp. z.0.0., Nortel Networks Hispania, S.A., Nortel Networks (Austria) GmbH, Nortel
Networks, s.r.o., Nortel Networks Engineering Service Kft, Nortel Networks Portugal S.A., Nortel Networks
Slovensko, s.r.o. and Nortel Networks International Finance & Holding B.V.

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control of individuals from Ernst & Young LLC (collectively, the “Joint Administrators”). On

May 28, 2009, at the request of the Joint Administrators, the Commercial Court of Versailles,
France (the “French Court’) (Docket No. 2009P00492) ordered the commencement of secondary
proceedings in respect of Nortel Networks S.A. (“NNSA”), which consist of liquidation
proceedings during which NNSA continued to operate as a going concern for an initial period of
three months, which period was subsequently extended. On October 1, 2009, pursuant to a
motion filed by the Joint Administrators, the French Court approved an order to: (i) suspend the
liquidation operations relating to the sale of the assets and/or businesses of NNSA for a
renewable period of two months; (ii) authorize the continuation of the business of NNSA so long
as the liquidation operations are suspended; and (iii) maintain the powers of the French
Administrator and Liquidator during the suspension period, except with respect to the sale of
assets and/or businesses of NNSA. In accordance with the European Union’s Council

Regulation (EC) No. 1346/2000 on Insolvency Proceedings, the English law proceedings (the

“English Proceedings”) remain the main proceedings in respect of NNSA. On June 8, 2009,
NNUK filed petitions in this Court for recognition of the English Proceedings as foreign main
proceedings under chapter 15 of the Bankruptcy Code. On June 26, 2009, the Court entered an
order recognizing the English Proceedings as foreign main proceedings under chapter 15 of the
Bankruptcy Code.

9, On January 18, 2009, certain Nortel affiliates, including Nortel Networks Israel
(Sales and Marketing) Limited, filed an application with the Tel-Aviv-Jaffa District Court,
pursuant to the Israeli Companies Law, 1999, and the regulations relating thereto for a stay of

proceedings. On January 19, 2009, the Israeli Court appointed Yaron Har-Zvi and Avi D.
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Pelossof as joint administrators of the Israeli Company under the Israeli Companies Law (the

“Joint Israeli Administrators”).

10. On January 26, 2009, the Office of the United States Trustee for the District of
Delaware (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the
“Committee”) pursuant to section 1102(a)(1) of the Bankruptcy Code [D.I.s 141, 142]. An ad
hoc group of bondholders holding claims against certain of the Debtors and certain of the

Canadian Debtors has also been organized (the “Bondholder Group”), No trustee or examiner

has been appointed in the Debtors’ cases.

11. On July 14, 2009 (the “CALA Petition Date”), Nortel Networks (CALA) Inc.

(NN CALA and a Debtor with NNI and its affiliates), an affiliate of NNI, filed a voluntary
petition for relief under chapter 11 of the Bankruptcy Code. On July 17, 2009, this Court entered
orders approving the joint administration and consolidation of NN CALA’s chapter 11 case with
the other Debtors’ chapter 11 cases for procedural proposes [D.I. 1098], and applying to NN
CALA certain previously entered orders in the Debtors’ chapter 11 cases [D.I. 1099].

B. Debtors’ Corporate Structure and Business

12. A description of the Debtors’ corporate structure and business and the events
leading to the chapter 11 cases are set forth in the Declaration of John Doolittle in Support of
First Day Motions and Applications [D.I. 3].

Relief Requested

13. By this Motion to Shorten, the Debtors seek an order: (i) shortening the notice

period for the Motion and (ii) granting related relief.
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Facts Relevant to this Motion

A. The Enterprise Business Solutions Sale

14. _—_ Nortel’s Enterprise Solutions business unit provides solutions for addressing the
communication needs of large and small businesses globally across a wide variety of industries
by building new networks and transforming existing networks into more cost-effective, packet-
based networks supporting data, voice and multimedia communications (the “Enterprise

Solutions Business”). In particular, the Enterprise Solutions Business specializes in providing

solutions that allow its customers to integrate and remove barriers between voice, email,
conferencing, video and instant messaging technologies. Nortel’s Enterprise Solutions Business
has a global presence with operations and customers in the United States, Canada, Central and
Latin America, Europe, the Middle East, Africa, and Asia.

15. On July 20, 2009, the Debtors filed a Motion for Orders (1)(A) Authorizing
Debtors’ Entry into the Asset and Share Sale Agreement, (B) Authorizing and Approving the
Bidding Procedures, (C) Authorizing and Approving a Break-Up Fee and Expense
Reimbursement, (D) Approving the Notice Procedures, (E) Approving the Assumption and
Assignment Procedures, (F) Authorizing the Filing of Certain Documents under Seal and (G)
Setting a Date for the Sale Hearing, and (II) Authorizing and Approving (A) the Sale of Certain
Assets of, and Equity Interests In, Debtors’ Enterprise Solutions Business, (B) the Assumption
and Assignment of Certain Contracts and Leases and (C) the Assumption and Sublease of
Certain Leases [D.I. 1131] (the “Sale Motion”). The Sale Motion sought approval of the sale of
certain of the Debtors’ assets relating to the Debtors’ Enterprise Solutions Business (the
“Assets”), including the assumption and assignment of certain executory contracts to the
Successful Bidder at an auction, and the approval of certain bidding procedures (the “Bidding

Procedures’) in connection with the proposed sale. Following a hearing on the Bidding

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Procedures, this Court entered an order on August 4, 2009 [D.I. 1278] (the “Sale Procedures

Order’), approving the Bidding Procedures to govern the sale by NNI and certain of its affiliates
(collectively, the “‘Sellers’’) of the Assets.
16. In accordance with the Bidding Procedures, the Sellers conducted an auction that

commenced on September 11, 2009 (the Auction”). The Successful Bid (as defined in the

Bidding Procedures) resulting from the Auction was the Sale Agreement, dated as of September

14, 2009 with Avaya as Purchaser (the “Successful Bid”’).

17. On September 16, 2009, this Court entered an order approving the sale of the
Assets to the Purchaser pursuant to the Successful Bid [D.I. 1514] (the “Sale Order”). The
Canadian Court entered a corresponding order approving the sale in the Canadian Proceedings
on the same day.

18. As part of the Sale Order, the Court authorized the Debtors under Bankruptcy
Code section 365 to assume and assign the Assumed and Assigned Contracts to the Purchaser,
which assignment shall take place on and be effective as of the Closing or such later date as
contemplated by the Sale Agreement. The Assumed and Assigned Contracts were defined in the
Sale Agreement to include certain executory contracts (including supplier and customer
contracts) to which the Debtors were a party prior to the sale.

19. Verizon filed objections to the Sale Motion concerning its contracts with the

Debtors and the potential assumption and assignment or rejection of such contracts [D.I. 1251

and D.I. 1483] (the “Verizon Objections”). As a result, the Sale Order reserved the rights of all
parties with respect to the Verizon Contracts and the Verizon Objections.
20. Since the entry of the Sale Order, the Debtors, Avaya and Verizon have engaged

in arms-length and extended negotiations to resolve the Verizon Objections and any disputes
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relating to the assumption and assignment of the Verizon Contracts. The Debtors now wish to
obtain authorization to assume and assign the Verizon Contracts to the Purchaser in connection
with the sale of the Assets in conjunction with the closing of the sale,

21. ‘The sale of the Assets is presently anticipated to occur as early as December 18,

2009.

Basis for Relief Requested

22. Local Rule 9006-1(e) provides for shortened notice “by order of the Court, on
written motion (served on all interested parties) specifying the exigencies justifying shortened
notice.” Del. Bankr. L.R. 9006-1(e). As set forth below, shortening notice is justified here.

23. The Debtors respectfully submit that shortened notice is appropriate in this
instance because court approval and authorization to assume and assign the Verizon Contracts is
a complementary and necessary step to finalize the larger sale process of the Enterprise Solutions
Business and related assets to the Purchaser. The Debtors, Avaya and Verizon have engaged,
and continue to engage, in ongoing negotiations, and have agreed in principle to assume and
assign the Verizon Contracts. Until very recently, it had not become clear that agreement could
be reached. The sale of the Enterprise Solutions Business is currently scheduled to close on
December 18, 2009 and court approval of the assumption and assignment of the Verizon
Contracts prior to the closing would be beneficial for the Debtors. The Debtors submit that an
expeditious closing of the sale of the Enterprise Solutions Business is in the best interests of the
Debtors’ estates and creditors.

24. For these reasons, the Debtors respectfully submit that allowing the Motion to be

considered on shortened notice is reasonable and appropriate under the circumstances.
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Notice

25. Notice of the Motion to Shorten is being given via first-class mail, facsimile,
electronic transmission, hand delivery or overnight mail to (4) counsel to the Purchaser; (ii)
Verizon; (iii) the U.S. Trustee; (iv) the Monitor; (v) counsel to the Committee; (vi) counsel to the
Bondholder Group; and (vii) the general service list established in these chapter 11 cases
pursuant to Bankruptcy Rule 2002. The Debtors submit that under the circumstances no other or
further notice is necessary.

No Prior Request

26. No prior request for the relief sought herein has been made to this or any other

court.
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WHEREFORE, the Debtors respectfully request that this Court (i) grant this Motion to

Shorten and the relief requested herein; (ii) enter the proposed order attached hereto; and

(iii) grant such other and further relief as it deems just and proper.

Dated: December 17, 2009
Wilmington, Delaware

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